793 F.2d 1291
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.WILLIAM L. DAVIS, SUCCESSOR TRUSTEE, Plaintiff-Appellant,v.BANK OF COMMERCE AND KEN SOUTHERN, TRUSTEE, Defendant-Appellee.
    86-5249
    United States Court of Appeals, Sixth Circuit.
    5/12/86
    
      APPEAL DISMISSED
      E.D.Tenn.
      ORDER
      BEFORE:  KENNEDY, MILBURN and RYAN, Circuit Judges.
    
    
      1
      On September 18, 1985, the Bankruptcy Court for the Eastern District of Tennessee entered an order granting summary judgment in favor of plaintiff-trustee Davis.  After considering the motion to reconsider of defendant Bank of Commerce and the response thereto, the Bankruptcy Court entered a judgment for $108,360.00 in favor of the plaintiff-trustee.  An appeal was prosecuted to the district court for the Eastern District of Tennessee.  That appeal resulted in an order remanding the case to the Bankruptcy Court for trial on the defendant bank's claim for additional offsets (such claim being based on 'recently unearthed facts').  This appeal followed.
    
    
      2
      A district court order which remands a case to the Bankruptcy Court for further proceedings is not a final order and therefore is not immediately appealable.  In re Matter of Griggsby, 745 F.2d 1153 (7th Cir. 1984).  It is therefore ORDERED that this appeal be and hereby is dismissed.
    
    